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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Northern Division

KORIN TAYLOR, et al.,                     :
                                          :
                        Plaintiffs,       :
                                          :                Civil Case No. 1:16-cv-02074
v.                                        :
                                          :
EXPERIAN INFORMATION SOLUTIONS, INC., :
                                          :
                        Defendant.        :
__________________________________________:

MOTION TO DISMISS DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, the Plaintiffs and

Defendant Experian Information Solutions, Inc., (“Experian”) jointly move this Court to dismiss

this case against Experian with prejudice, with each party bearing its own costs and attorneys’

fees. Accordingly, the parties requested that the Court enter the Proposed Order attached hereto

as Exhibit 1.

Respectfully submitted,

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                                                 Inc.
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of March, 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to all counsel of record.



                                           _/s/ Kristi C. Kelly____________
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